          Case 1:22-cr-00010-RJL Document 34 Filed 02/14/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :         Case No. 22-CR-00010-RJL
                                              :
AVERY MACCRACKEN,                             :
                                              :
                       Defendant.             :


                                   JOINT STATUS REPORT

       The United States of America and defendant Avery MacCracken jointly file this status

report to update the Court on the status of the case.

       1. At a status conference on October 4, 2022, the defendant informed the Court that he

           wished to plead guilty to one count of 18 U.S.C. § 231(a)(3). The Court scheduled a

           plea hearing on December 12, 2022.

       2. On November 29, 2022, the Court granted the Government’s unopposed motion to

           continue the plea hearing on the basis that the parties were still negotiating the terms

           of the agreement.

       3. On December 15, 2022, the Government sent counsel for the defense a revised plea

           agreement. Defense counsel is to provide a signed plea agreement and statement of

           facts.

       4. Defense counsel has been at trial in the Eastern District of New York on the case of

           United States v. Asainov, 19 Cr. 402 (NGG). According to defense counsel, the

           defendant intends to proceed by plea.

       5. Should a plea not be entered in the next 30 days, the Government would respectfully

           request that the Court schedule this case for trial. Government counsel currently is
  Case 1:22-cr-00010-RJL Document 34 Filed 02/14/23 Page 2 of 2




   scheduled to begin other trials on April 19, 2023 and June 5, 2023. Defense counsel is

   unavailable until January of 2024.

6. The Government respectfully requests that, pursuant to the Speedy Trial Act, the time

   between February 14, 2023 and the next court conference be excluded from speedy trial

   calculations on the basis that the ends of justice outweigh the best interest of the public

   and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Defense counsel

   consents to this request.

                                      Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052


                               By:    /s/ Brian Morgan
                                      BRIAN MORGAN
                                      Trial Attorney
                                      Detailed to the District of Columbia
                                      NY Bar No. 4276804
                                      601 D Street NW
                                      Washington, DC 20530
                                      Brian.morgan@usdoj.gov
                                      (202) 305-3717
